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17                                UNITED STATES DISTRICT COURT

18                               NORTHERN DISTRICT OF CALIFORNIA

19                                    SAN FRANCISCO DIVISION

20   IN RE: CATHODE RAY TUBE (CRT)                   )     Case No. CV-07-5944-SC
     ANTITRUST LITIGATION                            )     MDL No. 1917
21                                                   )
     This document relates to:                       )     ZELLE HOFMANN’S AND LOVELL
22                                                   )     STEWART’S OPPOSITION TO THE
     All Indirect-Purchaser Actions                  )     MOTIONS OF MESSRS. BALL AND
23                                                   )     KARON AND TRUMP, ALIOTO, TRUMP
                                                     )     & PRESCOTT, LLP TO APPOINT
24                                                   )     INTERIM CLASS COUNSEL FOR THE
                                                     )     INDIRECT-PURCHASER PLAINTIFFS
25                                                   )
                                                     )     DATE: April 4, 2008
26                                                   )     TIME: 10:00 a.m.
                                                     )     COURTROOM: 1, 17TH Floor
27                                                   )     Honorable Samuel Conti

28
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
     KARON AND TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP TO APPOINT INTERIM CLASS COUNSEL FOR
                              THE INDIRECT-PUCHASER PLAINTIFFS
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 1   I.       INTRODUCTION

 2            Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, the law firms of Lovell

 3   Stewart Halebian LLP (“Lovell Stewart”) and Zelle, Hofmann, Voelbel, Mason & Gette, LLP

 4   (“Zelle Hofmann”) respectfully submit this memorandum in opposition to the separate motions of

 5   (1) Gordon Ball and Daniel Karon (“Ball and Karon”) and (2) Trump, Alioto, Trump & Prescott

 6   LLP (“TATP”) seeking appointment as Interim Class Counsel for the Indirect-Purchaser Plaintiffs

 7   in In re Cathode Ray Tube (CRT) Antitrust Litigation (“CRTs”).1 As discussed in the

 8   Zelle/Lovell moving papers, the firms of Lovell Stewart and Zelle Hofmann possess extensive and

 9   unparalleled experience in successfully leading and achieving substantial results in indirect-

10   purchaser antitrust class actions (including serving a number of times as lead counsel in

11   technology-intensive actions). Zelle/Lovell have unmatched knowledge of the applicable law, have

12   taken the lead in the identification and investigation of potential claims in this litigation, and have

13   substantial nationwide resources. See Memorandum of Points and Authorities In Support of Zelle

14   Hofmann’s and Lovell Stewart’s Motion for Appointment as Interim Class Counsel for Indirect

15   Purchaser Plaintiffs dated February 25, 2008 (Docket No. 99-2) (“Zelle/Lovell Moving Mem.”) at

16   1-6. Lovell Stewart and Zelle Hofmann have no objection to working with any of the firms

17   seeking appointment as interim class counsel, on an Executive Committee or other capacity,

18   should the Court approve and if it serves to achieve the best interests of the Indirect-Purchaser

19   Plaintiffs.

20   II.      ARGUMENT

21            As provided in greater detail in their moving papers, Lovell Stewart and Zelle Hofmann are

22   the most qualified to serve as interim class counsel, according to the Federal Rule of Civil

23   Procedure 23(g)’s four factors that a court must consider when appointing class counsel—(a) the
              1
24              TATP first filed a complaint in this action on December 13, 2007, and Ball and Karon
     first filed a complaint in this action on December 31, 2007, a month and more than six weeks,
25   respectively, after Lovell Stewart filed the first complaint in the nation on November 13, 2007.
     Both the TATP and Ball and Karon motions fail to mention Lovell Stewart’s first filed complaint
26   in this multidistrict litigation.

27                                                      2
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
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 1   work counsel has done in identifying or investigating potential claims in the action; (b) counsel’s

 2   experience in class actions, other complex litigation, and claims of the type asserted in the action;

 3   (c) counsel’s knowledge of the applicable law; and (d) the resources counsel will commit to

 4   representing the class. Fed.R.Civ.P. 23(g)(1)(A)(i)-(iv). The competing motions fail to provide

 5   the Court with even a fraction of the detail that Lovell Stewart and Zelle Hofmann have offered

 6   with respect to the four factors. Accordingly, Lovell Stewart and Zelle Hofmann respectfully seek

 7   appointment as Interim Co-Lead Counsel for the Indirect-Purchaser Plaintiffs.

 8           A.      Lovell Stewart and Zelle Hofmann Have Taken the Lead in the Identification
                     and Investigation of Potential Claims in this Litigation.
 9
             As set forth in greater detail in their moving papers, Lovell Stewart and Zelle Hofmann
10
     have an unparalleled familiarity with the issues and claims involved in this case as a result of their
11
     active representation of indirect purchasers in leadership roles in the SRAM, LCDs, and Flash
12
     Memory actions, all presently pending in this District. See Zelle/Lovell Moving Mem. at 1-3, 5-6.
13
     Attorneys at Lovell Stewart and Zelle Hofmann have investigated the claims herein, and are
14
     working with economists and other experts to study the market. Significantly, many of the factual
15
     and legal issues, as well as the defendants, in the instant litigation overlap with those present in the
16
     technology-intensive antitrust actions that these firms are already leading. See Zelle/Lovell
17
     Moving Mem. at 1-3, 5-6. Moreover, because of the firms’ substantial involvement in the LCDs
18
     litigation (Zelle Hofmann serving as Co-Lead and Lovell Stewart serving as a member of the
19
     Working Group), they are already highly knowledgeable of the television and computer monitor
20
     industry, which is also at the center of this litigation.
21
             B.      Lovell Stewart and Zelle Hofmann Have the Most Extensive Experience in
22                   Indirect-Purchaser Antitrust Class Actions.
23           As described in detail in their moving papers, Lovell Stewart and Zelle Hofmann have the

24   most extensive experience of all firms in the United States in leading indirect-purchaser antitrust

25   class actions, particularly in those cases relating to technology-intensive industries. See

26   Zelle/Lovell Moving Mem. at 1-3. Contrariwise, in their briefs, TATP highlights only one

27                                                        3
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
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 1   antitrust case in which it recently served as co-lead counsel (see TATP Motion for Appointment of

 2   Interim Lead Counsel for Indirect Purchaser Class (Docket No. 90) at 5-6), and Ball and Karon

 3   cite to only four examples in which either Ball or Karon currently serves as co-lead counsel or on

 4   an executive committee, without providing any specificity as to the positions held or the results

 5   achieved in any case (see Memorandum Supporting Ball and Karon’s Motion for Appointment as

 6   Interim Co-Lead Indirect-Purchaser Class Counsel (Docket No. 114) (“Ball and Karon Br.”) at 5).2

 7   This pales in comparison to the number of cases in which Lovell Stewart or Zelle Hofmann have

 8   led or currently lead, and to the substantial results both firms have helped obtain for class

 9   plaintiffs, set forth in their moving papers.

10          As far as having been appointed by other courts to leadership positions—even if solely

11   focusing on technology-intensive indirect-purchaser class actions—Lovell Stewart currently

12   serves as the court-appointed Co-Lead Counsel for plaintiffs in In re Rambus Antitrust Litig., No.

13   C 06-4852-RMW (N.D. Cal.); and In re Digital Music Antitrust Litig., 06 Civ. 1780 (LAP)

14   (S.D.N.Y.). See Declaration of Francis O. Scarpulla in Support of Motion for Appointment as

15   Interim Class Counsel for the Indirect Purchaser Plaintiffs dated February 25, 2008 (Docket

16   No.99-3) (“Scarpulla Decl.”) ¶6, Ex. B. Zelle Hofmann was recently appointed Lead Counsel on

17   behalf of Indirect Purchasers in In re Static Random Access Memory (SRAM) Antitrust Litig.,

18   MDL No. 07-1819 (N.D. Cal.) (“SRAM”); and as Co-Lead Counsel on behalf of Indirect

19   Purchasers in both In re TFT-LCD (Flat Panel) Antitrust Litig., MDL No. 07-1827 (N.D. Cal.)

20   (“LCDs”); and In re Flash Memory Antitrust Litig., MDL No. 1852 (N.D. Cal.) (“Flash Memory”);

21   and Zelle Hofmann also successfully led litigation (including two jury trials) against Microsoft

22   Corporation: Microsoft Corp. Antitrust Litig., No. 00-5994 (Hennepin Co. Dist. Ct., Minnesota), as

23   Co-Lead; Microsoft Corp. Antitrust Litig., No. CL 82311 (Polk Co. Dist. Ct., Iowa), as Co-Lead;

24   Microsoft Corp. Antitrust Litig., No. 05-CV-010927 (Milwaukee Co. Dist. Ct., Wisconsin), as Co-

25
            2
              Despite citing to a number of exhibits in their papers, Ball and Karon seemingly failed to
26   include these exhibits with their motion.

27                                                     4
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
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 1   Lead; and Microsoft Cases, J.C.C.P. No. 4106 (San Francisco Superior Court), as Liaison Counsel

 2   and Chair of the Executive Committee. See Zelle/Lovell Moving Mem. at 2; see also, Scarpulla

 3   Decl. ¶3, Exhibit A. Furthermore, looking beyond the technology-intensive cases, these two firms

 4   have led and helped to obtain substantial settlements in countless cases over the years, also listed

 5   in great detail in their moving papers and firm resumes. See Zelle/Lovell Moving Mem. at 10-15;

 6   Scarpulla Decl., Exs. C and D.

 7            The Lovell/Zelle team also has a proven track record of obtaining superior results for class

 8   members. For instance, in the Microsoft indirect-purchaser antitrust litigation, of 20 state court

 9   indirect-purchaser cases, the four states with the highest per capita recovery were the four states in

10   which Zelle Hofmann was either Liaison or Co-Lead Counsel (California, Minnesota, Wisconsin

11   and Iowa), as illustrated in Exhibit A attached to Declaration of Judith A. Zahid In Support of

12   Zelle Hofmann’s and Lovell Stewart’s Opposition to the Motions of Messrs. Ball and Karon and

13   Trump, Alioto, Trump & Prescott, LLP to Appoint Interim Class Counsel for the Indirect-

14   Purchaser Plaintiffs, filed herewith.3 In addition, Lovell Stewart obtained, as Sole Lead or Co-

15   Lead Counsel, what were at the times of the settlements the largest class action recoveries in the

16   history of the Sherman Act, 15 U.S.C. § 1 et seq., the Commodity Exchange Act, 7 U.S.C. § 1 et

17   seq., and the Investment Company Act, 15 U.S.C. § 80a-1 et seq. See Zelle/Lovell Moving Mem.

18   at 12.

19            C.     Lovell Stewart and Zelle Hofmann Have Unmatched Knowledge of the
                     Applicable Law.
20
              Lovell Stewart and Zelle Hofmann have extensive knowledge of the applicable laws of all
21
     the states where an indirect-purchaser action is allowed by law. See Zelle/Lovell Moving Mem. at
22
              3
23            Incidentally, Mr. Ball, moving for lead counsel in this action, represented the Tennessee
     class, which received a substantially lower per-capita settlement than the classes represented by
24   Zelle Hofmann in the Microsoft cases. See id. Moreover, Zelle Hofmann and its co-counsel were
     just granted final approval for a $96 million cash settlement on behalf of California consumers of
25   smokeless tobacco, in Smokeless Tobacco Cases I-IV, J.C.C.P. Nos. 4250, 4258, 4259, 4262 (San
     Francisco Super Ct. Mar. 12, 2008). Again, Mr. Ball and his co-counsel represented a class of
26   Tennessee consumers of smokeless tobacco, and settled for mere coupons.

27                                                      5
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
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 1   1-3; 5-6. While their attack may have been directed at TATP, whose papers set forth primarily

 2   examples of Mr. Alioto having litigated for several years under California law, Ball and Karon

 3   have inaccurately framed their competing motion as their self-proclaimed “multi-state” group

 4   against the “Californians.” See, e.g., Memorandum Supporting Ball and Karon’s Motion for

 5   Appointment as Interim Co-Lead Indirect-Purchaser Class Counsel (Docket No. 114) (“Ball and

 6   Karon Br.”) at 2 (“[a]fter these plaintiffs and multiple Californians filed their antitrust

 7   complaints”). In fact, Lovell Stewart, a New York firm with attorneys in Michigan and Alabama

 8   (and a Washington affiliate), filed the first complaint in this multidistrict action on November 13,

 9   2007, on behalf of a Michigan plaintiff; Zelle Hofmann, a nationwide firm with offices in

10   California, Minnesota, Massachusetts, Texas, and Washington D.C. (with affiliates in China), filed

11   its cases on behalf of California and Minnesota plaintiffs; and together, the firms filed a case on

12   behalf of Tennessee plaintiffs.

13          Ball and Karon blatantly ignore these facts when they state that they “remain particularly

14   concerned about the interests of consumers in states besides California.” Ball and Karon Br. at 7.

15   This statement seems to make the erroneous assumption that Lovell Stewart and Zelle Hofmann

16   are not concerned about the interests of consumers outside of California, when in fact, not only do

17   Lovell Stewart and Zelle Hofmann represent plaintiffs in California, Minnesota, Michigan and

18   Tennessee, but they also have the support from firms who represent plaintiffs in Arizona, North

19   Carolina, South Dakota, and West Virginia.4 See Joinder of Plaintiff Donna Ellingson in Support

20   of Motion of Zelle, Hofmann, Voelbel, Mason & Gette LLP and Lovell Stewart Halebian LLP to

21

22
            4
               In their brief, Ball and Karon proclaim themselves as the “Multi-State Group” apparently
23   because Ball and Karon (along with a gaggle of small firms, most of which do not possess any
     antitrust class action experience) have been retained by plaintiffs in seven different states.
24
             As stated above, Lovell Stewart and Zelle Hofmann represent five plaintiffs in four
25   different states and have the support of firms who have filed on behalf of plaintiffs in at least four
     additional states. See Joinder. Therefore, the moniker “Multi-State Group” can also easily
26   identify the plaintiffs represented by Lovell Stewart and Zelle Hofmann.

27                                                      6
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 1   Appoint Interim Class Counsel for the Indirect Purchaser Plaintiffs (“Joinder”), filed on March 14,

 2   2008.

 3            Ball and Karon cite to a number of articles that Mr. Karon has written on the subject of

 4   indirect-purchaser actions and the Class Action Fairness Act (“CAFA”).5 Although publishing

 5   articles on the subject of current class action law is laudable, it is not unique to Mr. Karon (see

 6   Zelle/Lovell Moving Mem. at 11-12, 14; Scarpulla Decl., Ex. C (listing numerous Lovell Stewart

 7   and Zelle Hofmann articles, awards, and presentations on the subjects of class action and antitrust

 8   law)), and it certainly does not replace the significant knowledge acquired in practice by Lovell

 9   Stewart and Zelle Hofmann while prosecuting indirect-purchaser class actions. See Zelle/Lovell

10   Moving Mem. at 1-3, 5-6.

11            D.     Lovell Stewart and Zelle Hofmann Have the Greatest Resources to Prosecute
                     Such a Large and Complex Class Action.
12
              With over 100 attorneys in offices across the country, Zelle Hofmann and Lovell Stewart
13
     possess the greatest resources to prosecute such a large, complex class action. These firms have
14
     the resources to continue to advance these consolidated cases through motion practice, discovery,
15
     and trial. In fact, in order to aggressively litigate class actions on behalf of class members, the
16
     lead counsel team must be prepared to outlay substantial costs and expenses. Lovell Stewart and
17
     Zelle Hofmann have together advanced tens of millions of dollars to litigate complex cases in the
18
     past, and are prepared to do so here as well. In addition, these firms collectively have had
19
     enormous experience and success in prosecuting antitrust class actions, particularly on behalf of
20
     indirect purchasers and largely in the technologically-intensive markets. See Zelle/Lovell Moving
21
     Mem. at 1-3, 5-6. Lovell Stewart’s and Zelle Hofmann’s appointment would undoubtedly satisfy
22
     all of the requirements of Fed. R. Civ. P. 23(g)(1)(C)(i).
23
     ///
24

25
              5
             Again, although cited in their motion, these articles do not appear to have been appended
26   as exhibits to the Ball and Karon Brief.

27                                                      7
     ZELLE HOFMANN’S AND LOVELL STEWART’S OPPOSITION TO THE MOTIONS OF MESSRS. BALL AND
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                              THE INDIRECT-PUCHASER PLAINTIFFS
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 1   ///

 2   ///

 3   III.      CONCLUSION
 4             For the foregoing reasons, Lovell Stewart and Zelle Hofmann respectfully request
 5   appointment as Interim Class Counsel for the Indirect-Purchaser Plaintiffs in the CRTs action.
 6   Dated: March 14, 2008                                 Respectfully submitted,
 7
                                                           By     /s/ Craig C. Corbitt
 8                                                                Craig C. Corbitt
 9                                                         Francis O. Scarpulla (41059)
                                                           Craig C. Corbitt (83251)
10                                                         Matthew R. Schultz (220641)
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                                                 Purchaser Plaintiffs
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